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                 EXHIBIT A
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                Evidence of Fraud in Academic Articles Authored By Francesca Gino

1. Introduction

This report reflects a collaboration among a group of anonymous researchers. A small number of
individuals raised concerns to us and asked for our involvement in trying to reconcile those concerns. In
collaboration, we have collectively tried to identify some of the biggest issues. Rather than each individual
making public their concerns, we have elected to present this evidence to Harvard University so that its
investigators can consider the case while giving full opportunity for Professor Gino to explain apparent
anomalies.

We report direct evidence of data tampering in four different datasets from four different published articles.
We focus on those because they appear the most unambiguous. We have strong suspicions about some her
published data going as far back as 2008 (when she was a post-doc at Carnegie Mellon University), but the
most direct evidence is included it in this report.

Indeed, we should be clear that neither this report, nor our investigation, are exhaustive. We have not
analyzed, or even read, the majority of Professor Gino’s published articles. If the Harvard University
investigators determine that there is sufficient evidence in these four studies, it would certainly be worth
considering others as well.

Finally, although the evidence can, in most of these cases, rule out malfeasance by co-authors, it cannot
definitively rule in malfeasance by Professor Gino. It may be that some research assistant or otherwise
unnamed person/people was/were responsible for producing these anomalies.

2. Overview

While the substantive research questions, manipulations, and dependent variables across the four papers
are quite different, the anomalies we uncovered share a few commonalities worth keeping in mind as one
examines the evidence. The commonalities suggest imperfect data tampering; that is to say, the datasets
have features consistent only with tampering, but also features that could have been potentially detected
and eliminated by the person doing the tampering.

One common anomaly consists of datasets that are sorted, but sorted imperfectly. Imperfect sorting left a
trace of rows that were moved and/or values that were changed. For example, imagine a dataset sorted by
participant ID, but in which some observations are out of sequence, say IDs being 1, 2, 3, 4, 81, 82, 5, 6, 7.
If the out-of-order rows of data (e.g., those with IDs 81 and 82) exhibit extraordinarily large effect sizes –
at the extreme, effect sizes that produce the overall effect in its entirety – then that would represent fairly
strong evidence of data tampering. We find that in two of these cases.

Another common anomaly consists of answers provided by participants that are inconsistent with the
question being asked (e.g., participants answering "Harvard" to the question of how many years they have
spent at school), or with other values in the dataset (e.g., participants indicating they felt maximally
disgusted with a networking event and then describing that same networking event with words such as
"exciting" and "great"). Those anomalous observations, again, show extraordinarily large effects consistent
with the researcher's hypothesis.

3. Case #1: Study 1 of Shu, Mazar, Gino, Ariely, and Bazerman (2012)



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In this paper, the authors present three studies suggesting that “signing before—rather than after—the
opportunity to cheat makes ethics salient when they are needed most and significantly reduces dishonesty”
(page 15197).

Here we focus on Experiment 1, which was run at the University of North Carolina (UNC). Our
understanding is that Gino supervised the execution of this experiment, and analyzed the data, but perhaps
it is worth checking with co-authors to make sure. It is possible that an RA assisted Gino (e.g., Jennifer
Fink is thanked in the acknowledgements; she has an online presence as a life coach, making it easy to
contact her if deemed appropriate by those investigating these matters).


3.1 Procedure

In Experiment 1, 101 participants first completed a math puzzles task. “Participants were told that they
would have 5 min to find two numbers in each puzzle that summed to 10. For each pair of numbers correctly
identified, they would receive $1, for a maximum payment of $20. Once the 5 min were over, the
experimenter asked participants to count the number of correctly solved puzzles, note that number on the
[anonymized] collection slip, and then submit both the test sheet and the collection slip to the experimenter.”
Note that participants had the ability and incentive to cheat on this task, by simply overreporting the number
of puzzles that they solved on that collection slip.

After this task, participants filled out a one-page “tax return form.” On that form, participants reported both
how much money they had earned from the math puzzles task, as well as “how many minutes it took them
to travel to the laboratory, and the cost of their commute. These expenses were ‘credited’ to their posttax
earnings from the [math puzzles] task to compute their final payment.” Thus, participants were motivated
not only to overreport their math puzzle task performance, but also to overreport the cost of their commute.

The critical intervention in this study involved the format of the “tax return form.” Participants were
randomly assigned to one of three conditions. In the sign-at-the-top condition, participants had to sign at
the top of the page, under a statement that read, “I declare that I carefully examined this return and that to
the best of my knowledge and belief it is correct and complete.” In the sign-at-the-bottom condition,
participants instead signed at the bottom of the page. And in the control condition, participants did not sign
the form at all.

In sum, this experiment featured one independent variable – the placement of the signature on the tax return
form – and two dependent variables – (1) how much participants cheated on the math puzzles task1 and (2)
how many expenses they claimed for their commute on the tax-return form.

3.2 Reported Results

Participants in the sign-at-the-bottom condition overclaimed fewer correct solutions (M=.77) than those in
the sign-at-the-bottom condition (M=3.94), p < .001. Similarly, they claimed lower commuting expenses
(M=$5.27, vs M=$9.62, p < .01). These are very big effects: Signing at the bottom vs. top quadrupled
cheating on the math task, and doubled cheating on claimed commuting expense.

3.3 Anomaly: Out-of-Order Observations In The Dataset

1
  Because of a clever design feature of the math puzzles task, the researchers could link participants’ reported math puzzle
performance to their actual math puzzle performance. Thus, the researchers could compare how many math puzzles participants
reported solving to how many puzzles they actually solved.


                                                                                                                          2
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We retrieved the dataset for Experiment 1 from the OSF, where, since 2020, it has been publicly posted
(https://osf.io/4b7mu/).

The posted dataset seems to be sorted by two columns, first by a column called “Cond”, indicating
participants’ condition assignment (0 = control; 1 = sign-at-the-top; 2 = sign-at-the-bottom), and then by a
column called “P#”, indicating a Participant ID number assigned by the experimenter.

For example, this is a screenshot of a few dozen observations from the sign-at-the-top and sign-at-the-
bottom condition. You can see that within each condition the data are almost perfectly sorted by Participant
ID (the first column on the left). However, we have highlighted eight observations that are out of order:2




Participant ID 49 appears twice in the dataset, with identical demographic variables. In addition,
Participants 51, 12, 101 are out of order in Condition 1, and Participants 7, 91, and 52 are out of order in
Condition 2. We see this as a red flag because, to our knowledge, there is no way to sort the data in a way
that achieves this ordering. It suggests that observations must have been moved around (or duplicated),
manually, perhaps to alter a participant’s condition assignment in a way that achieves the desired result.

A deeper dive into the data of these eight participants provides support for this form of data tampering. The
figure below shows a “Bee Swarm” plot, which depicts each observation in the dataset, separately for each
experimental condition. The plot depicts one of the cheating measures, the amount of money participants
claimed in travel expenses. Every “normal”, in-sequence observation is represented as a blue dot, whereas
the eight out-of-sequence observations are represented as red X’s.



2
  There is one additional out-of-order observation in the control condition (not shown). But for simplicity we focus
our analyses on the comparison between the sign-at-the-bottom and sign-at-the-top conditions. That one out-of-order
control condition observation scored highly on overreporting math puzzles, with a score of 4 (the median is 1), and
low on travel expenses claimed ($1).

                                                                                                                  3
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In the sign-at-the-bottom condition, the authors predicted expenses to be high, and indeed the three out-of-
sequence observations in this condition are the very highest. In the sign-at-the-top condition, the authors
predicted expenses to be low, and indeed the five out-of-sequence observations in this condition were all
among the very lowest. As shown in the plot, the condition difference between just these eight observations
on this dependent variable is very highly significant; it would occur by chance less than 1 in a million
times.3 We have been unable to generate a benign explanation for this pattern.

A similar effect emerges when analyzing the other dependent variable, the overreporting of the number of
math puzzles solved. The five out-of-sequence observations in the sign-at-the-top condition, predicted to
be low, are all equal to zero, the lowest value observed in the dataset. The three out-of-sequence
observations in the sign-at-the-bottom condition, predicted to be high, were all greater than zero: 2, 6, and
7. The condition difference between these eight observations on this dependent variable was again highly
significant, even with so few observations: t(6) = 4.48, p = .004.4

In sum, there are eight observations that are out of order in this dataset, and to our knowledge no sorting
function can account for their placement. This suggests to us that these eight observations may have been
altered to produce the desired effect. Supporting that contention, those eight observations play a sizable
3
  This p-value (probably correctly) assumes that there are truly no differences between conditions. We ran 1 million
simulations that examined what this p-value would be if we instead very conservatively assumed that the condition
differences are exactly as large as what was observed in the data. In each simulation, we drew five observations at
random from the sign-at-the-top condition and three observations at random from the sign-at-the-bottom conditions
(without replacement), mirroring the number of flagged observations we observed in each condition in the data. We
then conducted a t-test to analyze the condition difference between those observations. We observed a t-value as large
as what we observed for the flagged observations (21.92) only 10 times in those 1 million simulations, suggesting a
p-value of 1 in 100,000. Thus, even when we assume that the true condition differences are exactly as large as they
are in the observed dataset, there is only an extremely small chance of finding such a large condition difference among
a randomly selected subset of eight observations.
4
  Using the same conservative approach described in the previous footnote, the p-value is .065.

                                                                                                                     4
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role in producing the published effect in Study 1, as all eight observations have values on the dependent
variables that are extremely consistent with the authors’ hypothesis.

Before moving on, we should be clear that we do not believe that these eight observations are necessarily
the only ones that may have been tampered with. Rather, they may be a mere subset, identifiable only
because the person tampering with the data neglected to re-sort the dataset. We cannot identify every
instance of fraud. We can only identify it when those doing the tampering leave observable traces of what
they have done.

4. Case #2: Study 4 of Gino, Kouchaki, and Galinsky (2015)

In this paper, the authors present five studies indicating that “experiencing inauthenticity, compared with
authenticity, consistently led participants to feel more immoral and impure. The link from inauthenticity to
feeling immoral produced an increased desire among participants to cleanse themselves and to engage in
moral compensation by behaving prosocially” (p. 983).

Here we focus on Experiment 4, which was run at Harvard University. Participants’ responses to a question
about their “class year” in the dataset indicate that the study was run no earlier than Fall of 2014, as seniors
reported being in the Class of 2015, juniors in the Class of 2016, and so on. Although the second author of
this paper, Maryam Kouchaki, was a postdoctoral researcher at Harvard for two years, her cv indicates that
she began her job as an Assistant Professor at Northwestern in 2014, making it very unlikely that she was
still at Harvard when this study was conducted and analyzed. In addition, the data file and methods write-
up posted on the OSF website were uploaded by Gino, and the properties of those files indicate that she
created them. Thus, it is most likely that this study was run/supervised and analyzed by Gino. With all of
that said, that can only be verified by Harvard University.

4.1 Procedure 5

Harvard students (N = 491) came into a lab and were first “asked to confirm that they were college students
at Harvard.” They were then “asked for their opinion [on] whether or not difficulty ratings should be a part
of the Q guide (in which all Harvard courses are rated and reviewed by students who have taken them in
the past).” Participants were then “asked for their age, gender, and year in school. They were then told that
their first task was to write an essay on a current topic.”

During the essay task, participants were randomly assigned to one of three conditions. One-third were asked
to write an essay in support of their opinion about including difficulty ratings in the Q guide (the pro-
attitudinal condition), and two-thirds were asked to write an essay against their opinion that that issue (the
counter-attitudinal conditions). The two-thirds asked to write a counter-attitudinal essay were randomly
assigned to one of two conditions, involving how much choice they had as to whether to write such an
essay: low-choice vs. high-choice. Thus, the three essay conditions were (1) pro-attitudinal, (2) counter-
attitudinal (low-choice), and (3) counter-attitudinal (high-choice).

After writing the essay, “participants received a list of products and indicated how desirable they found
them to be . . . We averaged ratings of the five cleansing products to create one aggregate measure.”

The authors hypothesized that “participants would express a greater desire for cleanliness whenever they
wrote essays that were not consistent with their internal beliefs, regardless of their perceived level of
choice.” That is, they predicted that participants’ preference for cleaning products would increase after

5
  This section frequently quotes directly from the introduction and methods of this study, as written up in Gino et al.
(2015, p. 991-992).

                                                                                                                     5
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writing a counter-attitudinal essay, regardless of whether they did so under conditions of low choice or high
choice.

4.2 Results

Consistent with the authors' hypotheses, participants were less desirous of cleaning products in the pro-
attitudinal condition (M=3.72, SD=1.33), compared to both the counter-attitudinal (high choice) condition,
(M=4.18, SD=1.51), p=.012, and the counter-attitudinal (low choice) condition (M=4.34, SD=1.44), p <
.001.

4.3 The Anomaly: Strange Demographic Responses

As mentioned above, students in this study were asked to report their demographics. Here is a screenshot
of the posted original materials, indicating exactly what they were asked and how:




We retrieved the data from the OSF (https://osf.io/sd76g), where it has been posted since 2015. The
anomaly in this dataset involves how some students answered Question #6: “Year in School.”

The screenshot below shows a portion of the dataset. In the “yearSchool” column, you can see that students
approach this “Year in School” question in a number of different ways. For example, a junior might write
“junior”, or “2016” or “class of 2016” or “3” (to signify that they are in their third year). All of these
responses are reasonable.

A less reasonable response is “Harvard”, an incorrect answer to the question. It is difficult to imagine many
students independently making this highly idiosyncratic mistake. Nevertheless, the data file indicates that
20 students did so. Moreover, and making things even more peculiar, those students’ responses are very
close to one another, all within 35 rows (450 through 484) in the posted dataset:




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This is a red flag, for it could indicate that someone had copy-pasted rows of data, without noticing that it
resulted in an implausible number of students providing the same strange and erroneous answer to a
straightforward question.

If these peculiar observations were indeed tampered with, then we should see that students who answered
“Harvard” were especially likely to confirm the authors’ hypothesis. To see this, we again present a Bee
Swarm plot, which depicts each observation in the dataset, separately for each experimental condition. The
plot depicts the key dependent variable, participants’ average ratings of how much they desired five
cleaning products. Every “normal”, in-sequence observation is again represented as a blue dot, whereas the
20 “Harvard” observations are represented as red X’s:




                                                                                                           7
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Here you can see that in the two counter-attitudinal conditions, which were predicted to induce a desire for
cleaning products and thus higher values on y-axis, every “Harvard” observation has the highest possible
average value (i.e., a 7.0). Conversely, in the pro-attitudinal condition, which was predicted to induce a
lower desire for cleaning products, every “Harvard” observation is associated with a low value, except for
one (which itself happens to be the only one associated with a lowercase “harvard”).

The difference between the Pro-Attitudinal and Counter-attitudinal conditions for just these 20 observations
is highly significant, with a p-value indicating that it would occur by chance less than one in a million times:
t(18) = 7.84, p < .000001.6

As in Case #1, this is very much consistent with the possibility that these “Harvard” observations were
altered to produce the desired effect.

5. Case #3: Study 3a of Gino, Kouchaki, and Casciaro (2020)

In this paper, the authors present six studies examining “how self-regulatory focus, whether promotion or
prevention, affects people’s experience of and outcomes from networking. [They] find that a promotion

6
 We also took the same conservative approach described in Footnote 3. In 1 million simulations, we observed a t-
value as large as 7.84 only six times. Thus, under the assumption that the between condition difference between the
counter-attitudinal vs. pro-attitudinal condition was identical to what was observed in the data, we would expect a
“Harvard” class year pattern that is so highly predictive of the authors’ result to emerge by chance only about 1 in
167,000 times.


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focus, as compared to a prevention focus or a control condition, is beneficial to professional networking, as
it lowers feelings of moral impurity from instrumental networking” (p. 1221).

Here we focus on Experiment 3a, which was run online (using mTurk participants). We believe it was
conducted and analyzed by Gino because the materials posted on the OSF list “Qualtrics” as the creator of
the file and “Francesca Gino” as the last person to save it. Thus, it is very likely that this was run through
her Qualtrics account, which it turn makes it very likely that she analyzed the data. Only Harvard University
can verify that fact.

5.1 Procedure. 7

In Study 3a, 599 working adults recruited through MTurk first completed a writing task, during which they
were randomly assigned to one of three conditions. Participants in the promotion-focus condition wrote
about a current hope or aspiration, participants in the prevention-focus condition wrote about a current duty
or obligation, and participants in the control condition wrote about what they do on a typical evening.

Participants then read a story in which they imagined “being invited to attend an event during which they
socialized with other people. In the story the main character was described as ‘actively and intentionally
making professional connections with the belief that connections are important for future professional
effectiveness.’”

Participants were then asked “to report how they felt at that moment, by indicating the extent to which they
felt . . . dirty, inauthentic, and impure, ashamed, wrong, unnatural, and tainted.” They did this using a scale
ranging from 1 = not at all to 7 = very much. Participants then were asked to reflect on their previous writing
task for 1-2 minutes, and to then “write a few words that came to mind regarding the story before proceeding
to the next task.” Participants completed other measures after that, but our focus is going to be on (1) the
7-item measure of moral impurity and (2) the words that participants wrote about the networking task, and
so we won’t describe those details here.

5.2 Results

As predicted, average scores on the 7-item moral impurity measure differed significantly across conditions,
F(2, 596) = 17.69, p < .0000001. Ratings of moral impurity were significantly higher in the prevention-
focus condition than in the control condition, which was in turn significantly higher than in the promotion-
focus condition.

5.3 Direct Evidence of Tampering

It is useful to begin by looking at the Study 3a dataset. The screenshot below shows data for 22 participants
(1 per row) for the key variables in this dataset:




7
 This section frequently quotes directly from the methods of this study, as written up in Gino et al. (2020, p. 1229-
1230).

                                                                                                                   9
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Let’s walk through a few of the observations. The first row of data in the screenshot, corresponding to row
531 in the dataset, shows a participant who provided a ‘1’ to all seven of the moral impurity items. This
participant didn’t feel at all dirty, inauthentic, impure, ashamed, wrong, unnatural, or tainted by imagining
herself at the networking event. And indeed, if you look at the “words2_cond” column on the far right, you
can see that what this participant wrote about the networking event - “socializing, party, impression,
connections, work” – is perfectly consistent with those ratings. Her ratings were positive, and her words
were positive. This makes sense.

The anomalies we discuss below pertain to rows in which participants’ ratings and words are inconsistent,
when either the ratings are negative and the words are positive, or the ratings are positive and the words are
negative.

5.3.1 Many 2s and 3s

Keeping that in mind, let’s look at all of the raw data from Study 3a, using the same kind of plot presented
in the previous two sections. Each dot in the figure below represents the average moral impurity rating for
a single participant.




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To start, consider the control condition, on the left. You can see that there are many participants with scores
of 1.0, indicating that they did not feel at all dirty, inauthentic, impure, ashamed, wrong, unnatural, or
tainted by imagining themselves at the networking event. We don't know how many 1.0s to expect, but it
seems reasonable that many participants would wind up with this score. There is nothing intrinsically dirty
about networking.

Now let’s take a look at the dots in the middle, the prevention-focus condition. The authors hypothesized
that writing a prevention-focused essay would increase participants’ feelings of moral impurity when
imagining the networking event. There is indeed a startling difference between the control condition and
the prevention-focused condition: instead of ‘1.0’ being the most common score on this dependent variable,
now ‘2.0’ is the most common score on this dependent variable. There is also a noticeable increase in the
number of ‘3.0s.’

This is much more peculiar than it may seem at first. Remember that this dependent variable is an average
of 7 items. There are obviously multiple ways for seven ratings to yield an average of 2.0 or 3.0, but the
simplest and most common is for participants to give all ‘2s’ or all ‘3s’. It is unusual for so many people to
decide that they are across-the-board exactly a ‘2’ on dirty, inauthentic, ashamed, etc. Indeed, ratings of ‘all
2s’ and ‘all 3s’ are quite rare in the other two conditions. In combination, the absence of ‘1.0s’ and the
presence of ‘2.0s’ and ‘3.0s’ led us to suspect that the researcher simply replaced many prevention-focused
observations that were ‘all 1s’ with ‘all 2s’ or ‘all 3s’. It is an easy way to tamper with the data. And it
would of course yield the desired effect: higher moral impurity ratings among prevention-focused
participants.

Keeping that in mind, let us turn to the promotion-focused condition on the right side of the figure. The
authors hypothesized that writing a promotion-focused essay would decrease participants’ feelings of moral
impurity. And so here what we see is that there are lots of ‘1.0s’, even more than in the control condition,
accompanied by a complete absence of values greater than 5.5. That led us to suspect that the researchers
replaced those high values with all 1s. Again, this would make the data tamperer' s job easy, and it would
yield the desired effect, low moral impurity ratings among promotion-focused participants.


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This annotated figure summarizes these two forms of hypothesized fraud:8




5.3.2 Participants with positive ratings and negative words (N=9)

Of critical importance here is the fact that participants both rated how morally impure they felt and wrote
text describing how they felt, whereas the researchers cared only about the ratings (which they analyzed)
and not about the text (which, therefore, they did not need to analyze). This means that a researcher who
tampered with this data might have manually altered some participants’ ratings without also feeling
compelled to manually alter the text that accompanied those ratings. This would leave a trace. For those
tampered observations, the valence implied by the ratings and the valence implied by the text would be
inconsistent.

Let’s walk through these two hypotheses. First, let’s focus on the promotion-focus condition, for which we
hypothesize that a researcher manually changed some very high values – values associated with extreme
levels of moral impurity – into maximally low values – values associated with no moral impurity at all. If
that is true, then we should see some participants in the dataset who (1) provided an average rating of 1.0
on the moral impurity scale and (2) wrote text suggesting that they felt extremely morally impure.
Moreover, those participants should be over-represented in the promotion-focus condition.

And, indeed, in this dataset we found nine participants who both averaged a 1.0 on the moral impurity scale
and wrote text implying that they felt high levels of moral impurity. Of the nine, seven of them were in the
promotion-focus condition:




8
  As emphasized in the previous section, we are not purporting to explain entirely what happened here, as it is possible that data
tampering also took other forms in this study. We are merely suggesting that at least some of the data tampering was carried out in
the way hypothesized here.

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This is consistent with the notion that all or some of these apparent ‘1.0s’ were not actually ‘1.0s’. The
words they wrote suggest that they may have instead provided very high ratings on the moral impurity
scale, ratings that were altered by the researcher performing the analysis.9

Though we find this evidence to be fairly convincing, it is not conclusive, as it suffers from the limitations
of being somewhat subjective and also reliant on a small number of observations. The next analysis – which
focuses on the hypothesis that some prevention-focused ‘1.0s’ were manually altered to become ‘2.0s’ and
‘3.0s’ – does not suffer from either limitation.

5.3.2 Participants with negative ratings and positive words (N=79)

To perform this analysis, we relied on a technique known as “sentiment analysis,” which uses an algorithm
to score a passage of text on the dimension of valence. Using the VADER package in R, we used an
algorithm that took in participants’ textual description of the networking event, and gave it a score from 1
(maximum positivity) to -1 (maximum negativity). Essentially, the score reflects the net percentage of
positive minus negative words in a text sample. If a string of text contains only unambiguously positive
words, it will have a score of 100%, or 1.000; if it contains only unambiguously negative words, it will
have a score of -100%, or -1.000. The screenshot below shows some participants whose VADER score was
maximally positive (i.e., 1.000):




And here are the participants with the most negative VADER scores:




9
 These are not the only ‘1.0s’ who wrote somewhat negative things, but they were the only ones who wrote things
implying moral impurity. For example, a few other ‘1.0s’ mentioned feelings of anxiety or boredom.

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As indicated above, we believe that many of the ‘all 2s’ and ‘all 3s’ in the prevention-focus condition may
actually have entered ‘all 1s’, and thus may have felt very positively toward the networking event. If this is
true, and if, as we suspect, the researcher altered the moral impurity ratings without also altering the words
those participants wrote about the networking event, then the words written by those ‘all 2s’ and ‘all 3s’
should look a lot like the words written by ‘all 1s’. They should be much too positive. The figure below is
consistent with this prediction.




The blue line in this chart represents the observed relationship between the moral impurity ratings and the
sentiment scores across all conditions, excluding the prevention-focused observations that we hypothesized
to have been tampered with. The relationship is sensibly negative: More morally impure ratings are
associated with lower sentiment scores and thus more negative text descriptions.

The two red dots with X’s depict the average sentiment scores of those in the prevention-focus condition
who gave ratings of ‘all 2s’ and ‘all 3s’. If they were really ‘all 1s’ to begin with, then the text they wrote
should be very positive, and thus their sentiment scores should be high. And that is exactly what we see

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here. The ‘all 2s’ and ‘all 3s’ in the prevention-focused condition wrote text that was just as positive as
what the ‘all 1s’ wrote across the entire sample. This very strongly suggests that a great many of these ‘all
2s’ and ‘all 3s’ were really ‘all 1s’ that had been altered.

6. Case #4: Study 4 of Gino & Wiltermuth (2014)

In this paper, the authors present five studies demonstrating that “dishonesty may lead to creativity”.

Here we focus on Experiment 4, which was run online (using mTurk participants). We received this dataset
from a researcher who had years ago obtained it from Professor Gino.

6.1 Procedure

In Experiment 4, 178 mTurk participants were first asked to guess whether the outcome of a virtual coin
toss would be heads or tails. After indicating their prediction, participants had to press a button to toss the
coin virtually. They were asked to press the button only once, but after that they were invited to press the
button many times to make sure the coin was legitimate. This was designed to give participants room for
justifying their own cheating. Participants reported whether they had guessed the coin toss outcome
correctly, and they received a $1 bonus if they had. Because the computer recorded their predictions as well
as the outcome of the coin toss, the experimenters could tell whether participants had cheated.

After completing a scale measuring rule-following (not discussed further in this report), participants
completed two creativity tasks, a “uses” task and the Remote Associates Task.

Our analysis will focus exclusively on the results of the “uses” task, which involved asking participants “to
generate as many creative uses for a newspaper as possible within 1 min” (p. 976).

6.2 Results

In line with the authors' hypothesis, participants who cheated on the coin toss task came up with more uses
for a newspaper (M = 8.3) than did participants who did not cheat (M = 6.5), p < .0001.

6.3 Direct Evidence of Tampering

The dataset seems to be sorted by two columns, first by a column called “cheated”, indicating whether
participants cheated on the coin toss task (0 = did not cheat; 1 = cheated), and then by a column called
“Numberofresponses”, indicating how many uses for a newspaper the participant generated.

For example, the screenshot below depicts the first 40 observations in the dataset.10 Because the data are
sorted first by the “cheated” column, all of these observations represent non-cheaters (i.e., scores of 0 in
that “cheated” column). The shown rows are perfectly sorted by the “Numberofresponses” column. Indeed,
the 135 non-cheaters in the dataset are all sorted by the “Numberofresponses” column.




10
  To create this screenshot, we had to move the “cheated” and “Numberofresponses” columns. In the dataset that
Gino shared, those variables were in the 78th and 14th columns, respectively.

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The next screenshot, in contrast, shows that while 43 cheaters are also sorted by this variable, there are 13
observations that are not in the order they should be.




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As was the case with previous datasets, we believe that these observations were manually altered to produce
the desired effect.

There are three things worthy of note here.

First, as before, it is not possible to sort the dataset to generate the order in which the data were saved. They
were either originally entered this way (which is implausible, since the data originate in a Qualtrics file,
which by default sorts by time), or they were manually altered.



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Second, because rows are sorted by the variable of interest, "numberOfUses", if the values that are out of
order were changed, it is straightforward to impute what they were changed from. For example, row #141
is "13", the number right before it is "4", and the first non-suspicious value after it is "5". Therefore, if the
data were changed, then we can assume that that "13" used to be either a "4" or a "5".

One can do this for each of the 13 highlighted values in the dataset. We can thus reconstruct what the data
looked like before they were tampered with. The screenshot below shows the imputed values for all relevant
cells. The first new column (“Imputed1”) imputes the lowest value that is consistent with the neighboring
observations, and the second new column (“Imputed2”) shows the highest value. So we see, for example,
that that first "13" could have been either a "4" or a "5".




Third, when one reconstructs the data in this way, by replacing the highlighted values with the values one
would impute based on the order in which data are sorted, the significant relationship between cheating and
creativity on the uses task entirely disappears. It’s p-value goes from <.0001 to .292 (“Imputed1”) or .180
(“Imputed2”).

7. Reminder

This report includes a subset of the evidence of tampering we have collected, which was obtained by
analyzing a small subset of the data that Gino has published.




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